Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 1 of 49

IN THE CIRCUIT COURT OF SEBASTIAN COUNTY, ARKANSAS
DIVISION

 

WILLIAM WHITFIELD HYMAN PLAINTIFF
" CASE NO.: cv-17- 47
Bill Sadler, in his official capacity DEFENDANTS
as Public Information Officer for
the Arkansas State Police
SUMMONS THE STATE OF ARKANSAS TO DEFENDANT:
BILL SADLER
Arkansas State Police - Public Information Officer One State Police Plaza Drive - Little Rock,
Arkansas 72209

Little Rock, Arkansas 72203
(501) 618-8230 (telephone)

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint.
The Judge will order a hearing to be held within 7 days of the receipt of this complaint. Within
30 days after service of this summons on you (not counting the day you received it) — or 60
days if you are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas —
you must file with the clerk of this court a written answer to the complaint or a motion under
Rule 12 of the Arkansas Rules of Civil Procedure. The answer or motion must also be served on
the plaintiff or plaintiff's attorney, whose name and address are:

W. WHITFIELD HYMAN, 300 N 6TH STREET, FORT SMITH, AR 72901
FAX: 479-316-2252

If you fail to respond within the applicable time period, judgment by default may be entered
against you for the relief demanded in the complaint.

DENORA COOMER
CLERK OF COURT
Address of Clerk's @ffice: 901 B St S # 205, Fort Smith, AR 72901

oad (IES,

Date: FEB 10 2017 [SEAL]

  

[Signature of Clerk or Deputy Clerk]

 
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IN THE CIRCUIT COURT OF SEBASTIAN CQUNTY, ARKAN SAS- .,

ro. CO,
CIVIL DIVISION 7
WILLIAM WHITFIELD HYMAN PLAINTIFF
v. CASE NO.: cv-17-/4 7
Bill Sadler, in his official capacity DEFENDANTS

as Public Information Officer for
the Arkansas State Police

AFOIA COMPLAINT AND REQUEST FOR HEARING
COMES NOW, William Whitfield Hyman, Plaintiff of King Law Group, PLLC, and for
his Complaint against The Arkansas State Police and Bill Sadler, Public Information Officer for
the Arkansas State Police, states and alleges as follows:
NATURE OF THE ACTION

1. Plaintiff brings this action, an appeal from the denial of rights pursuant to the Arkansas
Freedom of Information Act of 1967, as amended, Ark. Code Ann. § 25-19-101 et seq.
(“FOIA”).

PARTIES, JURISDICTION AND VENUE

2. Plaintiff is a resident of Sebastian County, Arkansas and is a citizen of the State of
Arkansas for purposes of FOIA.

3. All FOIA requests in this suit were made where the Plaintiff resides, in Sebastian County.

4. Defendant, The Arkansas State Police and its Public Information Officer Bill Sadler, is a

government entity located in Pulaski County, Arkansas.
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5. Bill Sadler is employed as the Public Information Officer of the Arkansas State Police. He
is the custodian of the records at issue in this Freedom of Information Act (FOIA) action.

6. This action to enforce compliance with FOIA is properly filed in this Court. See Ark.
Code Ann. § 25-19-107(a) (“Any citizen denied the rights granted to him or her by this chapter
may appeal immediately from the denial to the ... circuit court of the residence of the aggrieved
party, if the State of Arkansas or a department, agency, or institution of the state is involved,..’’).

7. This Court has jurisdiction over the subject matter of this suit and the parties herein,

8. Venue in this Court is proper.

COUNT I

9. Plaintiff re-alleges and incorporates by reference Paragraphs | through 8 as if fully set
forth herein.

10. The FOIA action concerns FOIA requests which the Plaintiff sent to Defendants on
January 20th, 2017. (See “Plaintiff’s Exhibit A” attached hereto.)

11. Plaintiff’s FOLA requests sought certain MVR/Dashcam videos that are in possession of
the Defendant.

12. Defendant refused to provide or make available for inspection or copying the videos
requested by the Plaintiff.

13. Specifically, in a letter from Defendant Bill Sadler, Defendants have refused to comply
with the following of Plaintiff’s FOIA requests stating the requests are pursuant to an exception
under §25-19-105(b)(6) which states “Undisclosed investigations by law enforcement agencies of

suspected criminal activity...” are exempt. (See “Plaintiffs Exhibit B” attached hereto.)
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14. However, the subject of the FOIA, Deris Robinson, had his criminal investigation closed
by arrest on December 28th, 2016 for a DWI and PDP charge. (See “Plaintiff’s Exhibit C”
attached hereto.)

15. Counsel W. Whitfield Hyman does not represent Deris Robinson in his criminal case, and
needs the video for Deris Robinson’s Driver’s License Control Hearing, in which the hearing

officer does not have access to nor the ability to compel documents or other discovery.

COUNT IT

16. Plaintiff re-alleges and incorporates by reference Paragraphs | through 15 as if fully set
forth herein.

17. The FOIA action concerns FOIA requests which the Plaintiff sent to Defendants on
January 26th, 2017. (See “Plaintiff’s Exhibit D” attached hereto.)

18. Plaintiff’s FOIA requests sought certain MVR/Dashcam videos that are in possession of
the Defendant.

19. Defendant refused to provide or make available for inspection or copying the videos
requested by the Plaintiff.

20. Specifically, in a letter from Defendant Bill Sadler, Defendants have refused to comply
with the following of Plaintiff’s FOIA requests stating the requests are pursuant to an exception
under §25-19-105(b)(6) which states “Undisclosed investigations by law enforcement agencies of

suspected criminal activity...” are exempt. (See “Plaintiff's Exhibit E” attached hereto).

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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 5 of 49

21. However, the subject of the FOIA, Enan Blevins, had his criminal investigation closed by
arrest on October 23, 2016 and there are no other suspects to this DWI charge. (See “Plaintift’s
Exhibit F” attached hereto.)

COUNT Il

22. Plaintiff re-alleges and incorporates by reference Paragraphs | through 21 as if fully set
forth herein.

23. The FOIA count concerns a FOIA request Plaintiff sent to Defendant on January 31st,
2017. (See “Plaintiff’s Exhibit G” attached hereto.)

24. Plaintiff’s FOIA requests sought certain MVR/Dashcam videos for two separate cases
that are in possession of the Defendant.

25. Defendant refused to provide or make available for inspection or copying the videos
requested by the Plaintiff.

26. Specifically, in a letter from Defendant Bill Sadler, Defendants have refused to comply
with the following of Plaintiff’s FOIA requests stating the request was not sufficiently detailed as
to A.C.A. §25-19-105(a)(1)(C) which states “the request shall be sufficiently specific to enable
the custodian to locate the records with reasonable effort.” are exempt. (See “Plaintiff’s Exhibit
H” attached hereto). Defendant requested “the date of arrest, county and location where the arrest
occurred, along with a name of the arresting state trooper...” (See again, “Plaintiffs Exhibit H”)

27. On January 31st, 2017, Plaintiff re-sent the FOI requests regarding the first FOI subject
to Defendant with the specific details requested. (See “Plaintiffs Exhibit I” attached hereto)

28. Defendant never responded to this FOIA request.
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29. On February 2nd, 2017, Plaintiff requested an update from Defendant regarding this
request. (See “Plaintiffs Exhibit J” attached hereto)

30. As of the date and time of this action, Defendant has failed to timely answer the
subsequent complete FOIA requests under Ark. Code Ann. § 25-19-105(e): “Ifa public record is
in active use or storage and therefore not available at the time a citizen asks to examine it, the
custodian shall certify this fact in writing to the applicant and set a date and hour within three (3)
working days at which time the record will be available for the exercise of the right given by this
chapter.”

31. Counsel W. Whitfield Hyman represents Anthony Shaw, subject of the first FOI request
made on January 31, 2017, in his criminal case, and needs the videos and report for each subject’s
defense.

COUNT IV

32. Plaintiff re-alleges and incorporates by reference Paragraphs | through 31 as if fully set
forth herein.

33. The FOIA count concerns the second of two FOIA requests which the Plaintiff sent to
Defendant on January 31st, 2017. (See again, ‘“Plaintiff’s Exhibit G”)

34, Plaintiff’s FOIA requests sought certain MVR/Dashcam videos for two separate cases
that are in possession of the Defendant.

35. Defendant refused to provide or make available for inspection or copying the videos
requested by the Plaintiff.

36. Specifically, in a letter from Defendant Bill Sadler, Defendants have refused to comply
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with the following of Plaintiff’s FOIA requests stating the request was not sufficiently detailed as
to A.C.A. §25-19-105(a)(1)(C) which states “the request shall be sufficiently specific to enable
the custodian to locate the records with reasonable effort.” are exempt. (See again, “Plaintiff’s
Exhibit H”). Defendant requested “the date of arrest, county and location where the arrest
occurred, along with a name of the arresting state trooper...” (See again, “Plaintiff’s Exhibit H”)

37. On January 31st, 2017, Plaintiff re-sent the FOI requests regarding the second FOI
subject to Defendant with the specific details requested. (See “Plaintiffs Exhibit K” attached
hereto)

38. Defendant never responded to this FOIA request.

39. On February 2nd, 2017, Plaintiff requested an update from Defendant regarding the
second FOI subject sent January 31, 2017. (See “Plaintiffs Exhibit L” attached hereto)

40. As of the date and time of this action, Defendant has failed to timely answer the
subsequent complete FOIA requests under Ark. Code Ann. § 25-19-105(e): “Ifa public record is
in active use or storage and therefore not available at the time a citizen asks to examine it, the
custodian shall certify this fact in writing to the applicant and set a date and hour within three (3)
working days at which time the record will be available for the exercise of the right given by this
chapter.”

COUNT V
A]. Plaintiff re-alleges and incorporates by reference Paragraphs | through 40 as if fully

set forth herein.

42. This FOIA count concerns a request the Plaintiff sent to the Defendant on the 6th of
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February, 2017 regarding a client of the Plaintiff’s, James Andrew Tanner. (See “Plaintiff's
Exhibit M’”).

43. Defendant responded “No records applicable to your request have been
located.” (See “Plaintiff's Exhibit M” again)

44. However, Plaintiff has knowledge that matters subject to this request were the basis
for an investigation into potential wrongdoing by Trooper Ziegenhorn, and therefore there must
be records that exist on that investigation and proceeding.

COUNT VI

45. Plaintiff re-alleges and incorporates by reference Paragraphs | through 43 as if fully
set forth herein.

46. This FOIA count concerns a FOJA request made by plaintiff to Defendant on
December Ist, 2016. (See Plaintiff's Exhibit N)

47. Plaintiff’s FOIA requests sought certain MVR/Dashcam videos that are in possession
of the Defendant.

48. Defendant refused to provide or make available for inspection or copying the videos
requested by the Plaintiff.

49. Specifically, in a letter from Defendant Bill Sadler, Defendants have refused to
comply with the following of Plaintiff's FOIA requests stating the requests are pursuant to an
exception under §25-19-105(b)(6) which states “Undisclosed investigations by law enforcement
agencies of suspected criminal activity...” are exempt. (See “Plaintiff's Exhibit B” attached

hereto.)
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50. Defendant responded that Plaintiff should ask for these items in a Motion for

Discovery (See Plaintiffs N).

51. However, the subject of the FOIA, Dustin Craig, had his criminal investigation
closed by arrest or citation for Driving on Suspended License DWI and Carrying a Weapon, and
Plaintiff may not file a motion for Discovery in that case because he is not the attorney of
record, nor does he want to be.

52. Defendant was aware that Plaintiff was not the attorney of record in the criminal case,
and responded with indifference. (See Plaintiff’s Exhibit O).

53. Plaintiff does not represent Dustin Craig in his criminal case, he represents him in a
potential 1983 action against the Trooper who arrested him. Arkansas is a fact pleading state,
and under the ethical rules Plaintiff needs to conduct an investigation before filing a lawsuit,
therefore Plaintiff needs the video for Dustin Craig’s investigation.

GROUNDS FOR RELIEF

54. Plaintiff re-alleges and incorporates by reference Paragraphs | through 39 as if fully set
forth herein.

55. Pursuant to Ark. Code Ann. § 25-19-105(b)(6), investigation records are protected from
FOIA disclosure only if “Undisclosed investigations by law enforcement agencies of suspected
criminal activity.”

56. The law is clear, “...when Reason for Exemption no Longer Exists, the Exemption cannot

be used to Prevent Disclosure. -- The purpose of the law enforcement exemption that
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"undisclosed investigation by law enforcement agencies of suspected criminal activity" are not
subject to public inspection is to prevent interference with ongoing investigations, and when a
case is closed by administrative action, the reason for the exemption no longer exists, and
information otherwise covered by the act must be disclosed.” McCambridge v. Little Rock, 298
Ark. 219, 223 (Ark. 1989).

57. The Arkansas State Police would be able to deny the FOIA if there were known potential
co-defendants and there was an ongoing investigation into their involvement, however the
underlying charges for all defendants are Possession of Drug Paraphernalia, Possesion of
Instrument of Crime, Possession of a Prohibited Weapon, Possession of Controlled Substance,
and Driving While Intoxicated. See Martin v. Musteen, 303 Ark. 656 (Ark. 1990), “While the
investigation in this case was disclosed to the extent that it was public knowledge that Pinson was
charged with a crime at the time the request for information was made, there was evidence that it
was undisclosed as to other possible defendants. It was, in any event, an "ongoing" investigation
which we recognized in the McCambridge case as the type to be protected. While we recognize
that the definition of "ongoing" is not the same as the definition of "undisclosed," we conclude,
as we recognized in the McCambridge case and as Professor Watkins suggested after our decision
in the City of Fayetteville case, that the general assembly meant to protect ongoing criminal
investigations being conducted by law enforcement agencies.”

58. As the Arkansas Attorney General has previously opined on an exceedingly similar
situation as here, the videos sought by Plaintiff would not constitute an undisclosed or ongoing

investigation. The public’s interest in disclosure of the videos requested far outweighs any
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possible open investigation that the requests may implicate. See Opinion No. 98-151, “The
question of whether a particular investigation is “ongoing” is a question of fact that must be
decided on a case-by-case basis. Op. Att’y Gen. No. 93-156. This determination may entail an in
camera review by the court deciding the case. See Johinson v. Stodola, 316 Ark. 423. If it is
factually determined that the investigation of the juvenile about which you have inquired is
“ongoing,” the records of that investigation can be withheld from disclosure under the authority
of the above-quoted investigation exemption.”

59. In Arkansas State Police v. Wren, another case wherein Defendant Bill Sadler failed to
timely respond to a FOIA request and instead offered an insufficient reason for exemption, the
Arkansas Court of Appeals held that the ASP must comply with the FOIA request. 2016 Ark.
188 (2016).

60. It stands that the statutory three day period should apply to the subsequent and respective
FOIA requests sent to Defendant in Counts III and IV.

61. Pursuant to the FOIA, the Court should order The Arkansas State Police and Bill Sadler
to produce or make available for inspection and copying the videos and other materials requested
by Plaintiff in this complaint and accompanying exhibits attached hereto.

62. Pursuant to Ark. Code Ann. § 25-19-107, this Court should find that Plaintiff is a
substantially prevailing party as to each respective count of this action.

REQUEST FOR HEARING
63. Pursuant to Ark. Code Ann. § 25-19-107(b), Plaintiff is entitled to a hearing within seven

days of the filing of this Complaint, where this Court should make a finding that Plaintiff is a

10
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substantially prevailing for each Count.

WHEREFORE, Plaintiff W. Whitfield Hyman prays that the Court set a hearing within
seven days; order Defendants to make available the videos requested in Plaintiff’s FOIA requests;
declare Plaintiff a substantially prevailing party; and grant Plaintiff all other proper relief.

Respectfully submitted,
W. wi Hyman

By: bey

Wy).

W. Whitfield Hee ARKBAR 2013237
King Law Group, PLLC

300 N 6th Street

Fort Smith Arkansas, 72901

P:_(479) 782-1125 E: (479) 316-2252
Attorney for Plaintiff

 

 

CERTIFICATE OF SERVICE

1, W. Whitfield Hyman, hereby certify a true and correct copy of this complaint and a summons
will be served by the Pulaski County Sheriff’s Department, a Process Server, or via U.S. Mail,
return receipt requested, upon the following parties as of the date of issuance of the summons by
the Clerk of this Court:

Arkansas State Police % Public Information Officer Bill Sadler, Arkansas State Police One State
h Pglige } Plaza att ock, AR 72209

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312017 Gmail - Freedom of Information Act Request

~~] Comal William Hyman <william.hyman@gmail.com>

Freedom of Information Act Request
1 message

Whitfield Hyman <william.hyman@gmail.com> Fri, Jan 20, 2017 at 12:14 PM
To: Bill Sadler <bill.sadler@asp.arkansas.gov>

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: bill.sadler@asp.arkansas.gov

FOIA Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting the following records in possession of
your department before they are destroyed.

Name: Deris Diondrae Robinson
DOB: 07/12/1974
Date of Arrest: December 28, 2016 at about 9:30 p.m,

Any surveillance footage from the dashcam/mobile vehicle recorders, radio chatter, radio logs, any audio evidence, etc. |
am also requesting that because this is related to a license suspension hearing that the information be provided free of
cost, and if costs will be incurred by accessing these records please confirm before the budget exceeds $25.

Please send these records to the or email or address listed below, if there are any questions, please call or email me.
Thank you for your assistance.

Regards,

W. Whitfield Hyman, esq.

William. Hyman@gmail com

Fax: 4793162252 Cell: 901-413-2625

300 N 6th Street, Fort Smith, Arkansas 72901

PLAINTIFF’S
EXHIBIT

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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 14 of 49

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™ Gmail William Hyman <william.hyman@gmail.com>
whitfield_hyman_robinson_deris_diondrae_01202017
1 message
Bill Sadler <bill.sadler@asp.arkansas.gov> Fri, Jan 20, 2017 at 12:29 PM

To: Whitfield Hyman <william.hyman@gmail.com>

Your request should be specific as prescribed under Arkansas Code Annotated §25-19-105
(a)(1)(C). The statute states, “The request shall be sufficiently specific to enable the
custodian to locate the records with reasonable effort.”

In addition to the date of the arrest and name of the individual arrested, please provide the
name of the Arkansas State Trooper who made the arrest, identify the county in which the
arrest occurred and any other identifying information relating to the location, and the
specific charge brought against the individual. Any other specific information that held in
the search of an applicable record will be appreciated.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Lite Rock, Arkansas 72209

(501) 618-8230 - http:/Avww.asp.state.ar.us/

From: Whitfield Hyman [mailto:william.hyman@gmail.com]
Sent: Friday, January 20, 2017 12:14 PM

To: Bill Sadler

Subject: Freedom of Information Act Request

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209

Email: bill sadler@asp.arkansas.gov

FOIA Request

Under the provisions of the Arkansas Freedom of Information Act, | am requesting the following records in possession of

your department before they are destroyed

Name: Deris Diondrae Robinson

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DOB: 07/12/1974
Date of Arrest: December 28, 2016 at about 9:30 p.m.

Any surveillance footage from the dashcam/mobile vehicle recorders, radio chatter, radio logs, any audio evidence, etc. |
am also requesting that because this is related to a license suspension hearing that the information be provided free of
cost, and if costs will be incurred by accessing these records please confirm before the budget exceeds $25.

Please send these records to the or email or address listed below, if there are any questions, please call or email me.

Thank you for your assistance.

Regards,

W. Whitfield Hyman, esq.

William. Hyman@gmail.com

Fax: 4793162252 Cell: 901-413-2625

300 N 6th Street, Fort Smith, Arkansas 72901

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1/31/2017 Gmail - hyman_robinson_deris_folo_01202017

i] smail William Hyman <william.hyman@gmail.com>

hyman_robinson_deris_folo_01202017

2 messages

Bill Sadler <bill.sadler@asp.arkansas.gov> Fri, Jan 20, 2017 at 3:49 PM
To: William Whitfield Hyman <hyman@arkansaslawking. com>

The investigation associated with this case remains active and therefore any evidentiary
record (i.e. video that may exist) is exempt pursuant to Arkansas Code Annotated §25-
19105(b)(6). A copy of the radio log is being copied and will be forwarded to you.

Any audio/video recording that may exist can be requested by means of a motion of
discovery filed through the court or at the behest of the prosecuting attorney by way
correspondence directed to Trooper Ibarra.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Little Rock, Arkansas 72209

(501) 618-8230 - http:/Awww.asp.state.ar.us/

From: william hyman@gmail.com [mailto: william tiyman@gmail.com] On Behalf Of William Whitfield Hyman
Sent: Friday, January 20, 2017 12:56 PM

To: Bill Sadler

Subject: Deris Robinson clarification

Mr. Sadler

The trooper was Ben Ibarra. The charges were felony PDP, DWI DRUGS, REFUSAL, ang
a | in Frankl fy? PLAINTIFF’S
a minor in the 3rd degree. Also, this happened in Franklin County. Please see attached if yi:

information or email me for clarification. : EXHIBIT

  

a,
a: a

Regards,
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 17 of 49
1/31/2017 Gmail - hyman_robinson_deris_folo_01202017

Whitfield Hyman

From: Whitfield Hyman [mailto: william. hyman@gmail.com]
Sent: Friday, January 20, 2017 12:14 PM

To: Bill Sadler

Subject: Freedom of Information Act Request

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209

Email: bill. sadler@asp.arkansas.gov

FOIA Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting the following records in possession of

your department before they are destroyed.

Name: Deris Diondrae Robinson
DOB: 07/12/1974
Date of Arrest: December 28, 2016 at about 9:30 p.m.

Any surveillance footage from the dashcam/mobile vehicle recorders, radio chatter, radio logs, any audio evidence, etc. |
am also requesting that because this is related to a license suspension hearing that the information be provided free of
cost, and if costs will be incurred by accessing these records please confirm before the budget exceeds $25.

Please send these records to the or email or address listed below, if there are any questions, please call or email me.

Thank you for your assistance.

Whitfield Hyman <william.hyman@gmail.com> Fri, Jan 20, 2017 at 5:44 PM

To: Bill Sadler <bill.sadler@asp.arkansas.gov>

Could | please have a certified denial notice?
[Quoted text hidden]

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State of Arkansas

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Thia i officlal notice that the suspension, revocation or disqualification af your driving privilege will begin at midnight of the 30" day from the date of arrast,
You have the right to an adminlatrative heating on the revocation, éuspenston of disqualificalion of your Unving privilege within twenty (20) daya from your
request for hearing. You must request a hearing within saver (7) calendar days of this notice being given. The attached request for hearing form contélis
additional Instructions. Your vehicle registrations will bo auupanded if you ara charged with 2 second or subsequent alcoho} related offense within five yearo

of the first. you Roki a commerclat driwar license your conimercial petvilege wall be disqualified, whether you are in a commercial vehicte or 2 non-commercial
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Reason: Clewired Cl suspended revoked C) No ariver fornse CI) othe __

 

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DUI offenses (0.02% through 0.07%) or the presence of othar Intoxicating substances or combination of substances, my privileges lo drive will be revoked,
suspended, disqualified or denied as provided for by Aykansas Code Annotated §5-B5-103 for DWI, §27-23-112 for CDL or §5-65-304 tor Underage DU!
and if | refuse to submit to the test or tests, my driving privilege will be revoked, suspended, disqualified or denied ag @ result of the rafusal.

| atso acknowledge receipt of this notice of suspension or revocation of my driving priviege and understand that my driving privilege will be suspended,
disqualified or revaked 30 days from the amest date, for a pétiod of tme to be determined by the Office of Driver Services based upon the number and
type of previous offense(s), | also understand that | have seven (7) calendar days from the date this notice was given to request an administrative hearing,

; Rrdr na 2Y2B/e
: Lew anforcoment officer must give a copy af thie notice ta each person arasted for
nature of Oriver Date

violating His law even if the person does not have a valid driver leenee or if thoy rafuse

    
 

to exe,
[J Refused tosign (J) Unable ta sign
Arresting offtcar muet check tho applicohla boxag White Copy to: Oriver Gg -
CE) pwi-.156% C) cmv ow .o4% OR INTOX. (J ou 02% THROUGH 07% P.O. Bell © 3
C) OW +.16% [1 cmv oruas C] oul REFUSAL 1800 Wil PLAINTIFF S
ft owl pRuGs =) cu Rerusal Littke Re EXHIBIT
i own REFUSAL [7] TRANSPORTING HAZARDOUS MATERIALS (807) 6f

SSB-000! (R 4-09) (BOTH SIDES MUST BF COMPLETED BY ARRESTING OFFICER)
Case 4:17-cv-00780- DPM Document 33- 1 Filed 10/11/18 Page 19 of 49

1. Onthe oe A day of_ December. 20/G_ at or near En. ok bathe, the arrested parson Named
on the reverse side had bean driving or operating, or was in actual physical contro! while intoxicated, or while the person's alcohol congentration
(bac) was 0.08 or more DWI, 0.04 COL, or 0.02 through 0.07 Underage DUI, In a motor vehicle or refused to submit fo tes{(s),

2. . Type of Vehicle being operated: ox” Non commercial. G Commercial vehicle requiring a CDL to operate
O Transporting hazardous materials required to be placarded

3. Reason for initial contact:
x Vehicle stopped by officar for violation of trafic law Seed SG-7?

QQ Accident
O Vehicle atraady stopped (describe)
1 Other (describe)

 

 

 

4. Reasonable grounds that person was operating:
gf. Saw person QO Parson admitted Sy,
O Other (describe)

 

5. Reasonable grounds that person was Intoxicated: i
O Odorofalcohol gf Bloodshot, watery ayes Q . Portable breath regull of
© Manner of driving ga Other

 

 

 

 

: ‘
Speech was: * x ey
c Slured O Incoherent O Normal - Othar Ses Lia Pas Hite

Balance was:

0 Swaying O Wobbing QQ Falling O ae Knees © Normal O Other

Atiltude (describe) Lo} ASSIS,

Field sobriety test given: aves! Ci Passed Failed

Describe test given a has Sn
6. Other pertinent information: Pertin, La! ES £4. ath bdaife5 A Se ekitos a St. i hy fi. baleen

Attach (staple) a copy of braath test results, driver's licans¢ and Statement of Rights form.
7. ‘The person's intoxication was the result of: G Alechol _ Ingestion or use of a controlled subsiance
O Other (describey: AW

& The person was requested to submit to a chemical test of thelr breath far Ue purpese of determining alegho! content and upon
belng offered the chemical test of thelr breath: 2, .

QO The person provided a breath sampie thal resulted in a test result of 0.
Time of test AM. / PM.

The test was administered In accordance with the requirements and regulations of Arkansas Oepartment of Health conceming alcoho! testing,

The coriified breath teat operator was: (Name)
(Certification No.)

 

 

Serial number of tha Instrument used: i
Please check applicabla boxes: A gample of the drivers: Co breath 0 blood Gurnee was tested:

 

Tha results are: O Induded © and/or pending
OR

Refused to submit to the test or tests and waa informed that his driving privilege would be tevoked, suspandad, dlzqualified
or denied as a resull of his refusal,

9. Tha nolice and order of suspansion, ravocation pr disqualification hag been delivered to the person named on the reverse side.
frvas C No Date Daliverad f af of [Pot

Officer | ie ba hier #07? of ABP Badge t_£ 79°

Hereby swears, Onder panalty of perjury, that tha Infarmatian on the front and back of this form ts true and correct:
__f die pa fee Pei / yeep cl Arresting agancy telephone number. Y 2G --7183 SAS
qnalitd of Arrest car Date

649 0002 (R 6/08) (MUST BE SIGNED ANQ FULLY GOMPLETED BY ARRESTING OFFICER) Page 2 (white) Back

 
 

 

| 0 of 49
Case 4:17-cv-00780-DPM. .Document 33-1 _Filed,10/11/18 Page 2

 

NAME OF SUBJECT AND DLY

ARKANSAS STATEMENT OF RIGHTS
JOS

 

i

ATE AND TIME OF INCIDENT 7.2. 6 List

 

 

 

more chemical tests
person In:

At the time the pereon js
operating of in ootual phytical oontral of & motorboat on tha \
bundredihs (0.08) or more in the Permon's breath or blood; or

(1) UNDER 21 ONLY ~The

(3) ONLY — The peraon is under the age of 21 and ip

while operating or in
tworhundredths (0.02) but tess than cight-Wwindrodths (0.08) is hia

driving privileges will bo Gaqualified,
wm, CMV OPERATOR ONLY — IF
the presence ofa controfled substance OF any ocher intoxicant for a viola

UNDER 2) ONLY ~ Uf you are under age 71 ond you

 

to have an additional teat, ead ara hater found
resting law enforcement agcnoy will reimburse you for the cos of the

DO YOU UNDERSTAND ALL PARTS OF
Test chosen by officer (Citle One): Breath

WILL YOU TAKE THE TEST?
Subject's wen X,

 

PART ONE- READ ALL SECTIONS TO SUBIRCT AND HAVE SUBJECT INITIAL AND SIGN WHERE INDICATED

You are advined that any person who operates or in i netual physical control of a motorboat or motor vehiols in this alate ia deemed to have BIVEN GonsEnI To One (lar
of bis o her breath, valiva, or arine for the Purpose of determing the aloohot or fentrolled substance potent of hin or her breath o¢ blood if the

£7 Foe in an avoident while Operating or in actual physiaal antral of @ matorboal on the water of this atote oro moter vehiole; or
The person in arrested for any‘ offeane arising out of an not alleged to have been committed Whilo the person wag driving a bosting while intaxioated o driving or
booting while there was nn oksohol conventvatian of cight-hundreatha (0.08) or tore is the person’s breath or blood; oe

7 trested for driving of bosling while intestionted, the low enforcement offices haa ressoable cause to believe that the Dérnon,

2h Denton it under the |ge of 2) and is esrcated for my offense orixing out of an aot alleged ta hove been committed while the underage
peraon was driving or booting while uncer the influence or driving or boating while there wos an Gloohal vonsentration of two-hundredihs (0.02) but less thon sight-

topped by a
actual physical contral of a motorboat én the wateni

you reflixe to take m chemical test, none will be alven, but you will mubject yourself to the penalties provided by-law, which inehides, but js not limited
to, thu suspension or revosntion af your driving privijeges, and if you are» commerain) driver's license holder. the Kaqualification af your commernel deiving privileges,

a If you sheave ta talte « chemiash teat, and the reaults reffct an
mubatanee, or any coher intoxicant, your driving privilege wil] be Napended
ahemical test. and the fesults reflect on aloohol onestimtion of foum~hundredtha (0.04) o¢ more or

(0.02) but lora than cight-hundeadths (0.08), your driving peivitege will be Wuapended or reveled,

“Not Gullty” of a violation of The Omnitun DWI oy BWI

 

 

 

 

‘atera of this sate or » motor vehicle, js intoxjoated or has an afoohol CONSENtrAiON of cight

law cnfornement officer who han Mabdneble cause (o belicve that the Underage

motor vehicle, is under the influenos or hns ea oe

of thiz gtate ar é an alcohol consenivation of

of her breath oy blood,

aleehol oonotnuation of cight-huedredths (008) or moet ov the Preience ofa controlled
or revoked ond if you are the holder of a Sommersie! driver's Home. your commercial

fon Ooascring ina pommerafal vehiole, your commerain| driving privilegca will be disqualified,

physicien, regintered cure, Jab technician, or
teat. Tho arresting law enforoement agency will oasiat you in Obtaining such a test, If yeu vhoose

for this wrest, the
additional rest,

E RIGHTS? RR YES NO =
Salve
yes #0 no ———— (2/27

Officer's Signature oud Date/Time: Bake LGB NW Ara

 

 

Sobjret’s Signature:

 

SECOND TEST ~ IF OFFICER DEEMS NECESSARY

Arkenras law permits an office to require on¢ or more chemical (ese of the breath, uring, or saliva of Pereca arrested for driving or bosting while intoxicated Hoving
taken my first teat, you are now requested to submit to « accond chemioal tert of your breath, urinc, or poliva.

Test chosen by officer (Circle ,
WILL VOU TAKE THE ssouiieer

 

NO

 

 

OMicer's Signature ond Date/Time:

 

 

 

Having taken the officer's testa, you hw
blood.

DO YOU WANT ANOTHE
—

Subject’s Signstare:

 

 

 

Subject’s Signature
7

PART TWO —- TO BE COMPLETED BY OFFICER WHEN THE 8

  

l lood test Will nog be taken unless you voluntarily

if sked whether you oonseni tae blood teat, you understand that you do net have to oonsent fo uch a test. Ab ; kes 3

utes cams Warrant if issued, Furthermore, you understand that, if you choose ta withhald conan! to a blood test, you wsll not suffer oxviminal penaltics and your
[ified

DO YOU VOLUNTARILY CONSENT TO TAKE A BLOOD TEST?

wu P. Mrbrnopen Officer's Signature and Date/Time: i fin hel 73 ht 12. An)

HAS TAKEN ALL TESTS IN PART ONE

NO

 

 

YRS Pe wo Hay)

*

 
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ARKANSAS STATE POLICE rem
DWI Offense Report

 

Suspect Information
Ticket # H-12/16-030

Full Name: ROBINSON DERIS. DIONDRAE
Last First Mi

Date of Birth: 7/12/1974

 

 

Address: 2201 N 147 St#A9 Ponca City OK 74601
Street Gity Stato Zip
Operator License Number ! J083946382 State: OK

 

 

Location of Arrest: |[40W 26MM

 

 

 

 

 

Date of Violation: 12/28/2016 Time of Violation’ 9:27 A.M.
Witness: __ Phone:
(Last/FirsUMil)

Driving Privileges Suspended: (() Yes & No ‘IF YES, Suspended for OH Yep O No
DWI:

Prior DWI Arrests: a Yes [x No If YES, When/Where:

Photo of Suspect Attached: [[] Yes Na Drug Evaluation’? AD Yes {x No
DRE Contacted? O Yes §& No

If Drug Evaluation conducted, explain:

 

DRE Name:

 

Vehicle information
Registered Owner, Hertz Vehictes LLC

 

 

 

 

Owner's Address:289B LUCAS DR . Detroit Mi 48242
Street City Stale Zip

Vehicle Make: Dodge Model. Charger License: DKR9640

. State: MI

Evidence of intoxicants Located in Vehicle: 04 YES L) NO

If yes, explain: _Bumt roach in center console, straw containing cocaine residue

Commercial Vehicle O Yes [J No

Vehicle Towed Oo Yes No Towing Company:

 

 

Passenger Information Sea ike
Penalty Enhancement for Passengers Under the Age of 16, (A.C.A 5-65-1114, Act 1461, {1,2])
Passenger Information:

Full Name: Sheikee G Bailey _ DOB/Age 4/23/1973 43 YO

Additional Passanger information: Minor in the back seat

 

 
 

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Phase 1- Vehicle Iii Motion

Reasons for Contact/Violatlons: Speed 86-70

 

 

 

 

Phase 2 Contact- Personal Contact

Odor of Intoxicants: . Clothing Description: Driver's Attitude:
J Strong Cl séNeat &] Cooperative C) Insulting
[) Moderate CL) —Oisorderly ‘ (J Combative () Sarcastic

Faint C] Soiled BJ Indifferent

Other odors: Footwear {] Other Passive

 
     

Speech: Slow and hesitant Difficulty retrieving requested documents?

 

 

 

 

 

 

Slow Responses: _ During the initial interaction prior to Difficulty responding to questions? ‘a
being placed in the back of my vehicle

Physical limitations; Difficulty maintaining balance? J
Medications: *If checked explain in narrative.

 

 

  
   

Phase 3- Pre-Arrest Sercening

 

Surface Conditions: — Dry

 

 

 

Weather Conditlons: Cloudy

Lighting Conditions: —_ Daylight.

     

      

Horizontal Gaze Nystagmus (HGN}:

 

riteria (4) Walk and Turn: Criteria (2)

      
   
   

 
     
 
 
   
   
  
 
 
    
  
  

Glasses or Contacts? LJ Yes (] No Maintains balance ]
during instructions?
Equal Pupil Size? O Yess (J No °
Starts too soon? (1D Yes No
Equal Tracking? Oo Yes No
Stops while walking? C}
Lack of Smooth Pursuit? (J tet (© _ Right
Misses heel-to-toe while 0
Distinct and Sustained O Let CJ Right walking? (V2")
Nystagmus at Maximum
Deviation Rajses arms for balance? J
(6” or mors)
Onset of Nystagmus C] let OO Right BM Steps off line? OQ
Prior ta 45 Degrees
Improper Turn? X
Vertical Gaze Nystagmus oO Yes (9 No Incorrect number of steps? (J

Present?

a Total Number of Steps:
Total Number of Clues Present:
Total Number of Clues Present:

Discontinued Test/Reason’ Discontinued Test/Reason:

 

 

   

2
49
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 23 of

ee -—3s =e 2a ee mee 73S eee Ok i ~ ' we tee

  
 
  

ee eG E Criteria (2) 1 Ol the) g Observations/Sobriety io ce i
Subject Raised: Cjleft fy Right Bloodshot eyes and slow fesponses during initial interaction,

 

Sways while balancing? Due to the circumstances of the stop, location, and the demeanor of all the

people involved, no field Sobriety test was conducted on stene.

  
  
 
 

Uses arms to balance?

 

 

Due to the fact that the jail had construction equipment and people working

UJ
O

Hops? oO in the sally port, no sobriety test was conducted at the jail,
O
O

 

Puts foot down? See video for passenger Subject demeanor thal lead me to decide against
taking subject out of the vehicle to conduct a sobriety test

   
 
  
   
 

- Discontinued Test
Reason for Discontinuing Test:

 

 

 

 

 

 

 

 

 

ra rrp
SR re

Total Number of Clues:

   

PBT Tests: 1” Test: 2” Test:

 

Chemical Tests:

Video Information: Video fromm sto available
Select One Breath Test? CT Yes  &jNo Results: Refused

   

 

 

 

 

 

 

 

Time of Test: Refused Observation Began: 9:33 A.M,
— ee a
Blood Sample? = [J Sample Colfected By: ASCL: (FQ ADH:(T]
ee
Urine Analysis? [J Sample Collected By: . ASCL: 2
Second test eq. [J Location: _ __
Collected by: _

 

  
   

&) Copy of Ticket (X) Implied Consent Rights Form

D7 BAC Evidence Ticket QO BAC lio

0 Crash Report D Sobriety Check Point & ASP 20

f ALS Form C) Copy of Interviews/Statements

Ej Pending items to be forwarded: eae Se ae

 

  
 

 

Arresting Officer/Badge #:Trp. Ben tbarra #173 17>  LEALP oop [PP

Date: 12/28/2016

 
 

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On the above stated date at approximately 9:27 A.M., I was stationary on Interstate-40
at the 26 mile marker in the median watching westbound traffic. I witnessed a white
charger driving at 86 miles per hour in a 70 mile per hour zone. I stopped the vehicle

around the 25 mile marker westbound, The vehicle displayed a registration of MI
DKR9640

! approached the vehicle and made contact with the driver. The driver handed me his
driver's license and I was able to positively identify him as Deris Diondrae Robinson
7/12/1974 OK. There was a strong odor of marijuana coming from the inside of the
vehicle. I asked the driver to step out of the vehicle and confronted him about the odor.
Mr. Robinson stated that they had a blunt earlier but that there was nothing else in the
vehicle. I provided Mr. Robinson an opportunity to come clean about what was in the
vehicle with minimal consequences, but he stated there was nothing left. Mr. Robinson
had a slow response and looked nervous when | stated that I was going to search the
vehicle. I placed Mr. Robinson in the back of my vehicle.

{ confronted the passenger. The passenger stated that they had a roach and smoked a
blunt in the vehicle, The passenger was later identified as Sheikee G Bailey 4/23/1973
NY. There was a minor backseat passenger that both Mr. Robinson and Ms. Bailey
identified as their son. I had Ms. Bailey and the minor step out of the vehicle and
remain in the grassy area while I searched the vehicle.

I then began a probable cause search of the vehicle. The search yielded a burnt roach
with minimal residue, which | did not retrieve, and a small cut up straw with white
powdery substance inside the straw. The tip of the straw was cut at a 45 degree angle
on the side with the most amount of residue. 1 confronted both Mr. Robinson and Ms.
Bailey about about the straw with residue. Both of them stated that it wasn't theirs. I
called the county and requested an officer come by with a test kit. Deputy Matt Young
arrived and provided me a test kit for methamphetamine. The test results were
negative. I then requested a cocaine test kit be brought. While waiting for the second
test kit, I noticed a small straw in the grass by my rear right seat door, a couple inches
away from my vehicle. Due to the location of the straw relative to where Mr. Robinson
was placed in the back of my vehicle and the fact that it was identical to the first straw
that was found inside the vehicle, I came to the conclusion that Mr. Robinson had
attempted to dispose of the straw as he was being placed inside my vehicle. The straw
was cut in the exact same way as the first one that was found in the vehicle and also
contained white powdery substance inside of it. A DTF agent was able to bring a
cocaine test kit. The test kit yielded a positive result for cocaine for both pieces.

Mr, Robinson stated that he had been in Florida partying and it may have come from
there. He also stated that it was a rental and may have come from someone else. The
rental agreement showed that Mr. Robinson had possession of the vehicle since
12/9/2016 and was to return it 12/27/2016, which was the day prior. Due to the fact
that both straws that were found were identical with the same cocaine substance

inside of them, I came to a reasonable conclusion that Mr. Robinson had prior 4

lenawrladan Af snA attawnentad tn Vinee fat te
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 25 of 49

As I spoke with Mr. Robinson, there was a faint odor of burn marijuana coming from
his person and his eyes were bloodshot. I suspected that Mr. Robinson was under the |
influence of narcotics. Due to Mr. Robinson's responses and Ms. Bailey's movements
and lack of compietely following commands to remain in the vehicle, 1 decided not
remove Mr. Robinson from the vehicle for a field sobriety test in order to maintain
control.

When I got to the jail, the sally port was being blocked with construction equipment. |
was unable to park inside and had to bring Mr. Robinson in from the front door.
Because of this, I was also unable to conduct a sobriety test in the sally port. ] read Mr.
Robinson his Statement of Rights and had him acknowledge it. 1 requested urine and
blood from Mr. Robinson to which he refused.

The remainder of the straws was placed inside a Ziploc bag, along with the positive test
result kit, to be forwarded to the Arkansas State Crime Lab for analysis.

Mr. Robinson was charged with the following charges:

4-443(a)(2): Poss Drug Para Cocaine

5-103: DWI Drugs

5-205: DWI Refusal

7-207: Endangering welfare of a minor 3rd Deg

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Dac 28, 2016 11:46:43 AM Printed By; 6070833 from: FRAZ
Raceived Time: 11:46:37 12-28~16 Sourca ORT: : ; AR0D240002
Summary: SQV:, LIC™DKR9640

SView Message Details

Massage Accepted - MRI 4797278 FRAZ 16 at 12/28/2016 11:46:37 Routed To:

 

 

RQ NLET
QV NCIC

QVS ARKNS

Received Time: 11:46:37 12-28-16 Source ORI; ARGOO0000
Summary; SQV: LIC=0KR9640

‘Vinw Megsage Details

YOUR SEARCH CRITERIA WAS NOT FOUND ON THE MV SYSTEM.
SEARCHED FOR: PLATE /DKR964O

 

Racalved Tima: 11:46:37 12-28-16 — Source ORI: ARO240002
Summary; SQV: LYC=BKRI640

"View Mosaagea Details

LLOLAYLSOMRIDO2ZUTLO

ARO240002

NO RECORD LIC/DKR9640 LIS/MI

 

ga = => LS

Recaived Tima: RL:46:37 12-28-16 Bourae ORT: . NI2Z30015V
Summary : SOV: LIC#DKR9640
“View Message Datails

MICHIGAN MOTOR VEHICLE REGISTRATION RESPONSE

13 ;DER9640. .

Elv=yn ORIG Issue 04/07/2016
04/01/2017 PC-OREIGINAL

HERTZ VEHICLES Lic

2998 LUCAS DR DETROIT 48242-1202

2016 DODGER 4D 30 2C3ICOXHG4GH232903 CHARGER
MI SOS

Page 1 of f
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 27 of 49

Dec 28, 2016 11:47:35 4M Printed By: 6070633 from: FRA2
Received Time: 11:47:29 12-28-16 Source ORI: ARO240002
Summary: SQWA:

View Massage Details

Massage Accepted - MRI 4797485 FRA2 17 at 12/28/2016 11:47:29 Routed To:

 

 

 

DPQ NLET
ncr¢c

ARKME

Received Time: LL:47:31 12-28-16 Source ORI: AROO00000

Summary: SOWA:

“View Massaqe Details

EWU-FIELDS IN ERROR: OLN-OLS,

 

E
Raceived Time: 11:47:32 12-28-16 Source ORI: ARO240002
Summary: SQWA:

QView Massage Detaila

LLOIGO1LSOMRIDO2UTRH
ARO240002

NO NCIC WANT OLN/J083946382

***MESSAGE REY OWA SEARCHES ALL NCIC PERSONS FILES WITHOUT LIMITATIONS.

——_Se= a rs — a ae

Ressived Time: 11:47:31 12-28-16 Source ORI; OKOOO0OMS
Summary: SQWA:
aView Message Details

OKLAHOMA DEFARTMENT OF MOTOR VEHICLES
DR. OKO0O00MS

10:47 12/28/2016 14548
10:47 12/28/2016 05944 ARO24a0002

+MRIDOZUTRH
TRI

ORLAHOMA DRIVER LICENSE ATATUS RECORD

**#* FOR LAW ENFORCEMENT USE ONLY #1

ROBINSON ,DERIS$ DIONDRAE OLN/J083946382 EXP/07-2020
2201 N 14TH STREET, #AQ PONGA CITY OK 746010000 RENEWED/10-15
DOB/071274 SEX/M RAC/B HGT/509 WGT/235 EYE/BRO LIC REPLACED/00-00
STATUS: VALID TRAFFIC RECORD=YES
CLASS: CDL A ENDORSEMENTS: W CDL STATUS: VALID

*LICENSE RESTRICTIONS*
NONE

SELF-CERTIFICATION: Nie NON-EXCEPTED/ INTERSTATE
Page 1 of 2
 

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Dac 28, 2016 14:47:55 AM Printed By. 6070633 from: FRAZ

CERTIFICATE ISS0R ‘DT: 11-28-2016 EXPIRE DT: 11-28-2018 status: CERTIFIED
CERTIFICATE RESTRICTIONS: ~NONE-— :
CERTIFICATE VARIANCE : NO

MEDICAL EXAMINER LICENSING JURISDICTION/NUMBER; OK/2015PA
MEDICAL &XAMINGR SPECIALTY: PA - PHYSICIAN ASSISTANT
MEDYCAL EXAMIWER MAME

LAST: KRUSE ;

FIRST: JASON

MIDDLE:
SUFFIX: TELEPHONE: 580-762-9292 NATL REGISTRY: 28526328723
*PREVIOUS NANES* *PREVIOUS NAMES*

NONE

<--~ END OF RECORD --->

Page 2 of 2
 

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31/2017 Gmail - FOIA Request

PJ Gmail William Hyman <william.hyman@gmail.com>

FOIA Request

1 message

Whitfield Hyman <william.hyman@gmail.com> Thu, Jan 26, 2017 at 11:26 AM

To: Bill Sadler <bill.sadler@asp.arkansas.gov>
Dear Mr. Sadler,

| am requesting a dashcam video from 10/23/2016 which shows my client, Enan Blevins being arrested for DWI in

Crawford County by Trooper Josh Elmore.
Please see the attached police report for more information or email me with any questions you may have.

Best,

William Whitfield Hyman

Arkansas Resident

300 N 6th Street, Fort Smith, AR 72901

901-413-2625

=) 201610261446. pdf

— 175K

PLAINTIFF’S
EXHIBIT

Db

 
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1/31/2017 Gmail - hyman_william_blevins_01272017
iy .
: “I Gmail William Hyman <witliam.hyman@gmail.com>

hyman_william_blevins_01272017

1 message
Bill Sadler <bill.sadler@asp.arkansas.gov> Fri, Jan 27, 2017 at 9:35 AM

To: Whitfield Hyman <william.hyman@gmail.com>

The case is in an active status and your request is declined pursuant to Arkansas Code
Annotated §25-19-105 (b)(6). While records at not, at this juncture, available through the
Arkansas Freedom of Information Act, you can proceed with a motion of discovery through
the court or ask the prosecuting attorney to direct the trooper to release the records to you.

Bilt Sadler
Arkansas State Police - Public Information Officer
One State Police Piaza Drive - Little Rock, Arkansas 72209

(501) 648-8230 - http:/Awww.asp.state.ar.us/

From: Whitfield Hyman [mailto:willlam.hyman@ gmail.com]
Sent: Thursday, January 26, 2017 11:27 AM

To: Bill Sadler

Subject: FOIA Request

Dear Mr. Sadler,

| am requesting a dashcam video from 10/23/2016 which shows my client, Enan Blevins being arrested for DWI in
Crawford County by Trooper Josh Elmore.

Please see the attached police report for more information or email me with any questions you may have.

Best,

William Whitfield Hyman

PLAINTIFF’S
EXHIBIT

Arkansas Resident
300 N 6th Street, Fort Smith, AR 72901

907-415-2625

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%

 
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AFFIDAVIT OF PROBABLE CAUSE (A He py

ES SEN TERY

I, the undersigned, certify and swear that on this date 10-23-16 to the best of my knowledge and belief, Enan K.
Blevins, violated the law based upon the following facts:

On the above date, I stopped a red Nissan pickup near the 4 mile marker on I-40 for speeding (76-70)
and improper lane usage. Once stopped, I made contact with the driver, Enan Blevins, and could immediately
smell! the odor of intoxicants coming from the vehicle, I had Blevins exit the vehicle and asked him to submit to
a PBT. Blevins gave a sample that registered at .08 BAC. I then had Blevins take the SFST’s. Blevins showed
signs of impairment during the test. I believe that Blevins was driving while intoxicated and placed him under
arrest. Once at the jail Blevins refused a breath test.

DWI Ist
Refusal to Submit to a Chemical Test
Speeding 76-70

lla,

   
 

  

4 —-
Improper Lane Usage SWE,
7 = 6230" Laie Ly,
apis > ee - SS “5,0 =
Trp. Josh R. Elmore #346 Ty? ee DS 6 ¢ BEES OAR OG
Arresting officer name (printed) Arresting officer, sig = =

    
  
 
 
   

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Sworn and subscribed beti

 

 

cey, signature
re me t is DUA day of i 20 Ce
i) Commission Det [Rove
fe ” ommission Date g- ~ RO

intry of Origin: Van Buren, AR. _

 

Residenc¢ ‘0 C

 

Felony History yesor__X_no

Drug Case yes or x no
Type of Drug(s) Quantity of Drugs |
Cooperative __ yesor xX no

 

Determination
I have reviewed these facts and the court hereby determines
[_}--That probable cause DOES NOT exist for the arrest, or
--That more operative facts must be presented to me for a fair and reliable
Determination within forty-eight (48) hours of the arrest, or
(fy That probable cause exists for the arrest.

Wate M0) ae

Mate Time

 

PLAINTIFF’S
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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 33 of 49

Rev. 1.0.0

ARKANSAS UNIFORM LAW ENFORCEMENT CITATION
STATE POLICE TROOP H

 

ABSTRACT OF COURT RECORD FOR STATE LICENSING AUTHORITY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Disposition Date: Docket No.
ARKANSAS. COUNTY OF City TICKET SONoHHeaTS Charge: Defendant's Plea: [7] Guilty [7] Not Guilty
CRAWFORD RURAL CRAWFORD NUMBER Court Finding: [] Guilty [J Not Guilty [Dismissed
Being duly swom, deposes and says that he/she has Location . : . a
reasonable cause to believe that the person herein named 1-40 [] Bond Forfeited [Probation [] Defensive Driving School
did, within the previous 12 months, commit the offense set i : :
forth contrary to law in that on or about 4MM WB Fined: $ Court Cost: $ Total: $
Date: 10/23/2016 atapproxtime: 09°30 PM Mile No. | Section No. |
First Name Middle { Maiden Last Suffix
ENAN K BLEVINS N/A Disposition Date: Docket No.
Address . .
257 MCCORMICK RD Charge: Defendant's Plea: [-] Guilty [J Not Guilty
City Sinte Zip Code Court Finding: [] Guilty ([] Not Guilty [) Dismissed
MUNFORD TN 38058 [Bond Forfeited (] Probation [| Defensive Driving School
Oriver's License Number State Issued DL in Possession co, [J AGFC License Number + . , :
105780516 ™N YES oo NIA rinses CounIcasEts ce
Sex Race BoB Height Weight Eyes Hair
M Ww 3/30/1989 6'0" BRN \
Vehicle Li Numb. Stat Body T; i ; = |
REESE meer ney ae aan — on Disposition Date: Docket No.
Vehicle Description (year, make, model, color) VIN of Vehicle Charge: Defendant's Plea: [7] Guilty [] Not Guilty
2012 NISS SLP RED IN6BADEC6CN318542 Court Finding: [] Guilty [Not Guilty [0 Dismissed |
Gumer's Address Contact Number for Court Purposes . 7 , 7
[
257 MCCORMICK RD, MUNFORD, TN 38058 NA LJ Bond Forfeited Probation (] Defensive Driving Schoo! |
Seatbe# In Use | Crash Invelved [Headlights On 16+ Passenger GV Vehicle Search Fined: $ Court Cost: $ Total: $
YES NO YES NO Passenger # Inventory Search
Statute Described Points.
27-51-201 SPEEDING - 1 TO 15 MPH OVER LIMIT ]
ani a Ge 2 Disposition Date: Docket No.
° . ! .- .
555-208 See once 8 Charge: Defendant's Plea: [J Guilty [7 Not Guilty |
eae Sei TIlE NRG UeLaEn an ae = Court Finding: [Guilty C1] Not Guilty (1) Dismissed |
Speed Details Radar 76 MPH 70 Speed Limit | BAC Breath| m= [1] Bond Forfeited [) +Probation (_ Defensive Driving School |
Conditions z Fined: $ Court Cost: $ Total: $
DARK ON-COMING RURAL 4 LANE DIV, 2
SAME OIR. w
rr
< !
= DWI School Oo
= DL Revoked ( Act 106 of 1969 ):
a
Officer Name TRP Josh Elmore Officer ID 346 & Driver's C Suspended For days
2nd Officer N i
ae eiometo 7 License (]_Recommended for Suspension days |
Court Appearance Information 479-474-1671 7 |
CRAWFORD CO. D.C. VAN BUREN Court Appearance Date and Time Appeal Bond of. $ Filed :
VAN BUREN, AR 72886 11/14/2016 = 08:30 AM For Appeal to: Circuit Court
Defendant must gel for tats saci iris and ¢ enmenan ey y wth the provisions of As provided by law, | hereby certify that the information on this citation is a tue abstract of the record of this court in this
| PROMISE TO APPEAR IN SAID COURT AT SAID TIME AND PLACE Signed ? Bond Amount
| UNDERSTAND THE ABOVE AND THAT MY SIGNATURE IS NOT AN ADMISSION OF GUILT o YES “ls :
sii Signature: Fj no. | Receipt Number Signature of Judge or Clerk

 
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 34 of 49

2/6/2017 King Law Group, PLLC Mail - FOIA Requests for Anthony Shaw & Micheal Sherwood

~~, .
(, i] i i King Law Group, PLLC Reception <email@arkansaslawking.com>

FOIA Requests for Anthony Shaw & Micheal Sherwood
1 message

King Law Group, PLLC Reception <email@arkansaslawking.com> Tue, Jan 31, 2017 at 10:34 AM

To: bill. sadler@asp.arkansas.gov

Attached are two FOIA requests .

King Law Group, PLLC

300 N 6th Street, Fort Smith, Arkansas 72901
103 N 6th Street, Suite 7, Fayetteville, AR 72701
Phone: 479-782-1125

Fax: 479-316-2252

2 attachments

4a} FOIAANTHONY SHAW. pdf
— 53K

= FOIAMICHAELSHERWOOD. pdf
— 54K

PLAINTIFF’S
EXHIBIT

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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 35 of 49

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: bill.sadler@asp.arkansas.gov

FOI Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting all
records in possession of your department before they are destroyed :

Defendant's Name: Anthony T. Shaw
Date of Birth: 09/07/1993

Primarily any surveillance footage from the dashcam/mobile vehicle recorders,radio
chatter, audio evidence, etc. | am also requesting that because this is related to the defense of
a criminal case that the information be provided free of cost. This case is still pending in District
Court. Please send these records to the or email listed below, if there are any questions, please

call or email me. Thank you for your assistance.

Regards,

Whitfield Hyman, esq.
William.Hyman@gmail.com

Fax: 479 3162252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 36 of 49

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: bill. sadler@asp.arkansas.gov

FOI Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting all
records in possession of your department before they are destroyed :

Defendant's Name: Michael Sherwood
Date of Birth: 04/20/1996

Primarily any surveillance footage from the dashcam/mobile vehicle recorders,radio
chatter, audio evidence, etc. | am also requesting that because this is related to the defense of
a criminal case that the information be provided free of cost. This case is still pending in District
Court. Please send these records to the or email listed below, if there are any questions, please
call or email me. Thank you for your assistance. '

Regards,

Whitfield Hyman, esq.
William.Hyman@gmail.com

Fax: 479 3162252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 37 of 49

2/6/2017 King Law Group, PLLC Mail - king law firm_hyman whitfield_anthony shaw_michael sherwood_01312017

—y ek
t a al | ei | | King Law Group, PLLC Reception <email@arkansaslawking.com>

king law firm_hyman whitfield_anthony shaw_michael sherwood_01312017

1 message

Bill Sadler <bill.sadler@asp.arkansas.gov>
To: "email@arkansaslawking.com" <email@arkansaslawking.com>
Cc: Whitfield Hyman <william.hyman@gmail.com>

Tue, Jan 31, 2017 at 11:06 AM

Arkansas Code Annoated §25-19-105(a)(1)(C) states, “the request shall be sufficiently
specific to enable the custodian to locate the records with reasonable effort.”

Until you can provide the date of arrest, county and location where the arrest occurred,
along with a name of the arresting state trooper, your request is declined.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Little Rock, Arkansas 72209

(501) 618-8230 - http:/Avww.asp.state.ar.us/

From: King Law Group, PLLC Reception [mailto: email@arkansaslawking.com]
Sent: Tuesday, January 31, 2017 10:34 AM

To: Bill Sadler

Subject: FOIA Requests for Anthony Shaw & Micheal Sherwood

Attached are two FOIA requests .

King Law Group, PLLC

300 N 6th Street, Fort Smith, Arkansas 72901
103 N 6th Street, Suite 7, Fayetteville, AR 72701
Phone: 479-782-1125

Fax: 479-316-2252

   

  
 

- PLAINTIFF’S
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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 38 of 49

2/6/2017 King Law Group, PLLC Mail - Updated FOIA Request for Anthony T. Shaw

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(; M1 : ! | King Law Group, PLLC Reception <email@arkansaslawking.com>

Updated FOIA Request for Anthony T. Shaw

1 message

King Law Group, PLLC Reception <email@arkansaslawking.com> Tue, Jan 31, 2017 at 3:00 PM
To: bill. sadler@asp.arkansas.gov ‘

Attached is an updated FOIA request.

King Law Group, PLLC

300 N 6th Street, Fort Smith, Arkansas 72901
103 N 6th Street, Suite 7, Fayetteville, AR 72701
Phone: 479-782-1125

Fax: 479-316-2252

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PLAINTIFF’S
EXHIBIT

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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 39 of 49

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: bill. sadler@asp.arkansas.gov

FOI Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting all
records in possession of your department before they are destroyed :

Defendant's Name: Anthony T. Shaw
Date of Birth: 09/07/1993

Date of Arrest: 07/25/2016

County: Crawford

Location: Mulberry

Officer: Ben Ibarra

Primarily any surveillance footage from the dashcam/mobile vehicle recorders,radio
chatter, audio evidence, etc. | am also requesting that because this is related to the defense of
a criminal case that the information be provided free of cost. This case is still pending in District
Court. Please send these records to the or email listed below, if there are any questions, please
call or email me. Thank you for your assistance.

Regards,

Whitfield Hyman, esq.

William. Hyman@gmail.com

Fax: 479 3162252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 40 of 49

2/6/2017 King Law Group, PLLC Mail - Updated FOIA Request for Michael Sherwood

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(5 i] ry | | King Law Group, PLLC Reception <email@arkansaslawking.com>
wowed

Updated FOIA Request for Michael Sherwood

King Law Group, PLLC Reception <email@arkansaslawking.com> Thu, Feb 2, 2017 at 1:30 PM
To: bill.sadler@asp.arkansas.gov

Any update?
[Quoted text hidden]

PLAINTIFF’S
EXHIBIT

 
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 41 of 49

2/6/2017 King Law Group, PLLC Mail - Updated FOIA Request for Michael Sherwood

e
(, i] 4 | King Law Group, PLLC Reception <email@arkansaslawking.com>

Updated FOIA Request for Michael Sherwood

2 messages

King Law Group, PLLC Reception <email@arkansaslawking.com> Tue, Jan 31, 2017 at 1:11 PM

To: bill.sadler@asp.arkansas.gov

Attached is an updated request for Michael Sherwood

King Law Group, PLLC

300 N 6th Street, Fort Smith, Arkansas 72901
103 N 6th Street, Suite 7, Fayetteville, AR 72701
Phone: 479-782-1125

Fax: 479-316-2252

a FOIAMICHAELSHERWOOD (2). pdf
— 54K

Thu, Feb 2, 2017 at 1:30 PM

King Law Group, PLLC Reception <email@arkansaslawking.com>
To: bill.sadler@asp.arkansas.gov

Any update?
(Quoted text hidden}

  

PLAINTIFF’S
EXHIBIT

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Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 42 of 49

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: bill. sadler@asp.arkansas.gov

FOI Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting all
records in possession of your department before they are destroyed :

Defendant's Name: Michael Patrick Sherwood
Date of Birth: 04/20/1996

Date of Arrest: 09/10/2016

County: Franklin

Location: Ozark

Officer: Ben Ibarra

Primarily any surveillance footage from the dashcam/mobile vehicle recorders, radio
chatter, audio evidence, etc. | am also requesting that because this is related to the defense of
a criminal case that the information be provided free of cost. This case is still pending in District
Court. Please send these records to the or email listed below, if there are any questions, please
call or email me. Thank you for your assistance.

Regards,

Whitfield Hyman, esq.

William. Hyman@gmail.com

Fax: 479 3162252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 43 of 49

2/6/2017 King Law Group, PLLC Mail - Updated FOIA Request for Michael Sherwood

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(5 iY] a | | King Law Group, PLLC Reception <email@arkansaslawking.com>

Updated FOIA Request for Michael Sherwood

King Law Group, PLLC Reception <email@arkansaslawking.com> Thu, Feb 2, 2017 at 1:30 PM
To: bill.sadler@asp.arkansas.gov

Any update?
[Quoted text hidden]

- PLAINTIFF’S
- EXHIBIT

 
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 44 of 49

~~] Cmall William Hyman <william.hyman@gmail.com>

hyman_tanner_searcy_white county_02082017
5 messages

Bill Sadler <bill.sadler@asp.arkansas.gov> Wed, Feb 8, 2017 at 8:38 AM
To: Whitfield Hyman <william.hyman@gmail.com>

No records applicable to your request have been located.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Little Rock, Arkansas 72209

(501) 618-8230 - http:/Avww.asp.state.ar.us/

From: Whitfield Hyman [mailto: william.hyman@gmail.com]
Sent: Monday, February 06, 2017 2:30 PM

To: Bill Sadler

Subject: Freedom of Information Act Request

Mr. Bill Sadler
Public Information Officer
1 State Police Plaza Drive
Little Rock Ar, 72209

Dear Mr. Sadler

|, Wiltam Whitfield Hyman, attorney for James Andrew Tanner, request any and alt information including but not
limited to reports filed, dispatch logs, radio chatter, dashcam footage, motor vehicle recordings, emails, texts, and all
other records regarding incidents involving your department and James Tanner on Saturday, November 29, 2014 and
Wednesday December 3, 2014. at a Walmart in Searcy, Arkansas, and all other records the Arkansas State Police has

involving him.

| would also like any and all audio recordings and other records from Mr. Tanner's Concealed Handgun License

Revocation hearing. If this information is not available through FOIA, please let me know the

   

 

  
 

obtain it.

PLAINTIFF’S
EXHIBIT

   

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| request all information be delivered electronically to this email Wiliany Hy man@Gmail..
mailed to 300 N 6th Street Fort Smith, Arkansas 72901. In lieu of physical copies, | can pre

w egaly’ i 6
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 45 of 49

copies of the records and make physical copies myself.
| would appreciate notification of receipt of this request and an estimated time of compliance as well as notification of

any costs this might incur so that | may authorize expenses or deny them.

If this request is denied, please inform me as soon as possible.

Also, | have not received a response for the FOIAs | did for Anthony Shaw and Michael Greenwood with their updated

information that you had asked for.

Sincerely,
William Whitfield Hyman

Whitfield Hyman <william.hyman@gmail.com> Wed, Feb 8, 2017 at 9:37 AM
To: Bill Sadler <bill.sadler@asp.arkansas.gov>

There are no records of a concealed handgun license revocation hearing?
There are no records that an Anthony Shaw was arrested or cited by the ASP?
What about Micheal Sherwood? (| accidentally said Greenwood in my last email).

[Quoled text hidden]

Bill Sadler <bill.sadler@asp.arkansas.gov> Wed, Feb 8, 2017 at 1:37 PM
To: Whitfield Hyman <william.hyman@gmail.com>

Records of licensure and hearings associated with CHCL licensing are exempt.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Little Rock, Arkansas 72209

(501) 618-8230 - http:/Awww.asp.state.ar.us/

From: Whitfield Hyman [mailto:william.hyman@grail.com]
Sent: Wednesday, February 08, 2017 9:38 AM

To: Bill Sadler
Subject: Re: hyman_tanner_searcy_white county_02082017

[Quoted text hidden}

Whitfield Hyman <william.hyman@gmail.com> Wed, Feb 8, 2017 at 1:38 PM

To: Bill Sadler <bill. sadler@asp.arkansas.gov>

{s there any way to get the records not through FOIA or discovery?

{Quoted text hidden}
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 46 of 49

P~] Gmail William Hyman <william.hyman@gmail.com>

hyman_william_dustin craig_12022016

1 message

Bill Sadler <bill.sadler@asp.arkansas.gov> Fri, Dec 2, 2016 at 10:36 AM
To: William Whitfield Hyman <hyman@arkansaslawking.com>

The records you've requested that are associated with the arrest are part of an
investigation which is exempt from public disclosure at this time pursuant to Arkansas

Code Annotated §25-19-105(b)(6).

These records can be obtain by means of a motion of discovery filed through the court and
directed to the arresting trooper, or by order from the prosecuting attorney.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Lite Rock, Arkansas 72209

(501) 618-8230 - http:/Avww.asp.state.ar.us/

From: william.hyman@gmail.com [mailto:william.hyman@ gmail.com] On Behalf Of William Whitfield Hyman
Sent: Thursday, December 01, 2016 3:18 PM

To: Bill Sadler

Subject: FOIA REQUEST

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209
Email: Bill. Sadler@asp.arkansas.gov

FOIA Request

    

Under the provisions of the Arkansas Freedom of Information Act, | am requesting
detainment of a particular person from the daschcam or mobile vehicle reocrder records in 5 PLAINTI FF’S

department before it is destroyed. ) EXHIBIT

Name of Person Detained: Dustin M Craig
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 47 of 49

Trooper’s Name: Corporal Jesse Woodham

Ci Date: on or about September 13, 2016 around 9:30 am in Benton County, Near Siloam Springs.

Please send these records to the email or address listed below, attention Whitfield Hyman, if there are any

questions, please call or email me. Thank you for your
assistance.

Regards,

Whitfield Hyman, esq.
William.Hyman@gmail.com

Fax: 479 316-2252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 48 of 49

i] Gmail William Hyman <william.hyman@gmail.com>

hyman_william_dustin craig_folo_12022016

1 message
Bill Sadler <bill.sadler@asp.arkansas.gov> Fri, Dec 2, 2016 at 10:43 AM
To: Whitfield Hyman <hyman@arkansaslawking.com>

| have provided to you a means by which to obtain the records.

Bill Sadler
Arkansas State Police - Public Information Officer
One State Police Plaza Drive - Lite Rock, Arkansas 72209

(501) 618-8230 - http:/Avwww.asp.state.ar.us/

From: Whitfield Hyman [mailto:hyman@ arkansaslawking.com]
Sent: Friday, December 02, 2016 10:40 AM

To: Bill Sadler

Subject: Re: hyman_william_dustin craig_12022016

Bill,

If | win my appeal of that case will you start complying with these things or am | going to have to file a lawsuit every
time?

On Dec 2, 2016 10:36, "Bill Sadler" <bill sadler@asp.arkansas.gov> wrote:

The records you’ve requested that are associated with the arrest are part of an
investigation which is exempt from public disclosure at this time pursuant to Arkansas
Code Annotated §25-19-105(b)(6).

These records can be obtain by means of a motion of discovery filed through the court and
directed to the arresting trooper, or by order from the prosecuting attorney.

» PLAINTIFF’S
Bill Sadler EXHIBIT

Arkansas State Police - Public Information Officer

 

One State Police Plaza Drive - Little Rock, Arkansas 72209
Case 4:17-cv-00780-DPM Document 33-1 Filed 10/11/18 Page 49 of 49

(501) 618-8230 - http:/Avww.asp.state.ar.us/

From: william.hyman@ gmail.com [mailto:william.hyman@gmail.com] On Behalf Of William Whitfield Hyman
Sent: Thursday, December 01, 2016 3:18 PM

To: Bill Sadler
Subject: FOIA REQUEST

Arkansas State Police
One State Police Plaza Drive - Little Rock, Arkansas 72209

Email: Bill.Sadler@asp.arkansas.gov

FOIA Request:

Under the provisions of the Arkansas Freedom of Information Act, | am requesting video footage regarding the
detainment of a particular person from the daschcam or mobile vehicle reocrder records in possession of your

department before it is destroyed.

Name of Person Detained: Dustin M Craig
Trooper's Name: Corporal Jesse Woodham

Ci Date: on or about September 13, 2016 around 9:30 am in Benton County, Near Siloam Springs.

Please send these records to the email or address listed below, attention Whitfield Hyman, if there are any
questions, please call or email me. Thank you for your
assistance.

Regards,

Whitfield Hyman, esq.
Wilham.Hyman@gmail.com

Fax: 479 316-2252 Cell: 901--413--2625

300 N 6th Street, Fort Smith, Arkansas 72901
